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 9

10                               UNITED STATES DISTRICT COURT

11                         FOR THE CENTRAL DISTRICT OF CALIFORNIA

12       IN THE MATTER OF THE                      No. 2:21-mj-04617
         EXTRADITION OF
13                                               t r nr,,,-,,.,,..a ~   ORDER
         HASSAN ABDIBARIK ALI,
14         a ka "Top5,"

15       A Fugitive from the
         Government of Canada.
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17   I           Upon consideration of the request of the United States for the

18       detention of fugitive HASSAN ABDIBARIK ALI, also known as '~TopS"

19       ("ALI"), pending extradition proceedings, and good cause therefor

20       appearing,

21               IT IS HEREBY ORDERED that said request is GRANTED, the Court

22       making the following findings of fact and conclusions of law:

23               1.   In foreign extradition matters there is a presumption

24       against bail and only "special circumstances" will justify release on

25       bail.    See United States v. Salerno, 878 F.2d 317, 317 (9th Cir.

26       1989); see also In re Extradition of Smyth, 976 F.2d 1535, 1535-36

27       (9th Cir. 1992); Kamrin v. United States, 725 F.2d 1225, 1228 (9th

28       Cir. 1984).    The burden of showing special circumstances exist rests
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 1   upon the fugitive.    See, e.g., Salerno, 878 F.2d at 317-18.       Here,

 2   the Court finds that no such "special circumstances" exist.

 3          2.   The government alternatively requests detention on the

 4   grounds that ALI presents an unacceptable risk of (a) flight and/or

 S   (b) danger to the community, even if the Court were to find that

 6   special circumstances are present.

 7          The Court hereby finds no combination of conditions that will

 8   reasonably assure:

 9               a.   ~) the appearance of fugitive as required; and/or

10               b.   ~( ) the safety of any person or the community

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16          IT IS SO ORDERED.

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                 e~~ ~~ ~~
19   DATE                                   HO     RABLE KAREN    STEVENSON
                                                 ITED STATES MAGISTRATE JUDGE
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22   Presented by:

23   /s/ John J. Lulejian
     JOHN J. LULEJIAN
24   Assistant United States Attorney

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